                     Case 2:23-cr-00197-JS-AYS Document 27-1 Filed 06/20/23 Page 1 of 1 PageID #: 140

TO: Clerk's Office
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                       A) If pursuant to a prior Court Order:
******************************************                                             Docket Number of Case in Which Entered:2_:2_3-_C_R_--0_01_91_ _ _ __
                                                                                       Judge:                  Seybert                                  Date
 United States of America                                                              Entered:     06/20/2023
             -v-                                     2:23-CR-00 197
  George Anthony Devolder Santos Docket Number
******************************************

SUBMITTED BY: PlaintiffO
Name:
                         DefendantO DOJ              D                                 B) If a !!filY application, the statute, regulation, or other legal basis that
                                                                                       authorizes filing under seal
      ------------------
Finn Name:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Phone Number:                                                                          ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
               ---------------
E -Mail Address:                                                                       AND MAY .filll.BE UNSEALED UNLESS ORDERED BY
                   ---------------                                                     THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET:          YES□     NO   □
If yes, state description of document to be entered on docket sheet:                   DATED:     06/20/2023                      , CENTRAL ISLIP, NEW YORK
                                                                                         /s/ JOANNA SEYBERT

                                                                                       U.S. DISTRICT JUDGE
                                                                                                      RECEIVED IN CLERK'S
                                                                                               OFFICE
                                                                                                          -----------
                                                                                                                                        DA TE




          TORY CERTIFICATION OF SERVICE :                                                                      □
A .)       copy of this application eithe1n en or wif-b',prornptly served upon all pa1ties to this action, B.)   Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:  ; or C.) LJThis is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)


                             DATE                                       SIGNATURE
